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                               Nebraska Supreme Court Advance Sheets
                                        308 Nebraska Reports
                                          IN RE INTEREST OF PRINCE R.
                                                Cite as 308 Neb. 415



                               In re Interest of Prince R., a child
                                      under 18 years of age.
                           State of Nebraska, appellee, v. Mohamed K.,
                                appellant, and Abak R., appellee
                                       and cross-appellant.
                                                    ___ N.W.2d ___

                                        Filed February 12, 2021.   No. S-20-342.

                 1. Juvenile Courts: Evidence: Appeal and Error. Juvenile cases are
                    reviewed de novo on the record, and an appellate court is required to
                    reach a conclusion independent of the juvenile court’s findings; how-
                    ever, when the evidence is in conflict, an appellate court may consider
                    and give weight to the fact that the trial court observed the witnesses
                    and accepted one version of the facts over the other.
                 2. Parental Rights. The purpose of the adjudication phase is to protect the
                    interests of the child.
                 3. Juvenile Courts: Jurisdiction. To obtain jurisdiction over a juvenile at
                    the adjudication stage, the court’s only concern is whether the conditions
                    in which the juvenile presently finds himself or herself fit within the
                    asserted subsection of Neb. Rev. Stat. § 43-247 (Reissue 2016).
                 4. Juvenile Courts: Jurisdiction: Proof. At the adjudication stage, in
                    order for a juvenile court to assume jurisdiction of minor children under
                    Neb. Rev. Stat. § 43-247(3)(a) (Reissue 2016), the State must prove the
                    allegations of the petition by a preponderance of the evidence.

                 Appeal from the Separate Juvenile Court of Lancaster
               County: Linda S. Porter, Judge. Affirmed.
                    Robert Wm. Chapin, Jr., of Chapin Law Office, for appellant.
                  Patrick F. Condon, Lancaster County Attorney, and Maureen
               E. Lamski for appellee State of Nebraska.
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                  IN RE INTEREST OF PRINCE R.
                        Cite as 308 Neb. 415
  Mona L. Burton, of Anderson, Creager &amp; Wittstruck, P.C.,
L.L.O., for appellee Abak R.
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.
   Papik, J.
   The separate juvenile court of Lancaster County adjudicated
Prince R. as a child who lacked proper parental care by reason
of the fault or habits of his parents, Mohamed K. and Abak R.
The juvenile court concluded that the parents failed to ensure
that Prince received necessary medical care after he was diag-
nosed with a rare form of cancer. Mohamed appealed and Abak
cross-appealed this determination, but, for reasons we will
explain, we affirm.
                        BACKGROUND
Adjudication Petition and
Preliminary Motions.
   The State commenced this action on October 21, 2019. In
its adjudication petition, the State alleged that Prince, who was
born in August 2015, lacked proper parental care by reason
of the fault or habits of both Mohamed and Abak. The State
asserted that Prince had been diagnosed with alveolar rhab-
domyosarcoma of the right forearm with local metastases to
the axillary lymph nodes; that the condition was curable with
regular chemotherapy and radiation; that without treatment,
the condition would be fatal; that Mohamed and Abak, having
been informed of Prince’s diagnosis and prognosis, intention-
ally kept him from receiving treatment; and that the actions of
Mohamed and Abak placed Prince at a risk of harm.
   On the same day the State filed its petition, it filed an
ex parte motion for immediate custody of Prince. The juve-
nile court granted the State’s motion. The court later granted
motions by the State for Prince to remain in the temporary
legal and physical custody of the Nebraska Department of
Health and Human Services (DHHS).
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                  IN RE INTEREST OF PRINCE R.
                        Cite as 308 Neb. 415
Adjudication Hearing.
   The juvenile court held a trial on the State’s adjudication
petition over the course of 4 days in January and February
2020. A summary of the evidence presented follows.
   Melissa Acquazzino, a board-certified physician who spe-
cializes in treating children with cancer at Children’s Hospital
and Medical Center (Children’s) in Omaha, Nebraska, first
saw Prince when he came to Children’s in July 2019 with a
tumor on his right forearm. Following a biopsy, Acquazzino
and others on a pediatric pathology team diagnosed Prince
with alveolar rhabdomyosarcoma, a form of cancer. It was later
determined that the cancer had spread to the lymph nodes of
Prince’s armpit. Acquazzino testified that there are only about
350 patients diagnosed with this form of cancer in the United
States per year.
   Acquazzino informed Mohamed and Abak of Prince’s diag-
nosis. She also informed Mohamed and Abak that Prince
would need to receive chemotherapy. Acquazzino recalled
that Mohamed and Abak were “distraught.” She testified that
Mohamed expressed anger at the length of time it took to make
the diagnosis as well as a belief that if Prince had received
antibiotics earlier, cancer would not have developed.
   After additional testing on the tumor tissue, Prince was
determined to have what Acquazzino referred to as “inter-
mediate risk” rhabdomyosarcoma. Acquazzino testified that
this meant that Prince had about a 60-percent chance of
relapse-free, long-term survival if the best available treatment
were provided. According to Acquazzino, the best available
treatment in Prince’s case would include an initial round of
chem­otherapy followed by either surgery or radiation and then
continued chemotherapy for a total treatment duration of about
66 weeks. She testified that an international consortium of
children’s hospitals to which Children’s belonged recognized
this course of treatment as the best available and that any other
hospital within that consortium would have recommended
the same treatment. If Prince did not receive this treatment,
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                  308 Nebraska Reports
                  IN RE INTEREST OF PRINCE R.
                        Cite as 308 Neb. 415
Acquazzino said that he would die in 6 months to a year.
Acquazzino testified that when patients have a very poor prog-
nosis even if the standard treatment is provided, Children’s will
offer the option of palliative “comfort care,” which is expected
to end in the patient’s death. Acquazzino testified that was not
an option explored in this case given Prince’s prognosis.
   On July 23, 2019, Acquazzino and Christina Chesters, a
social worker at Children’s, met with Mohamed and Abak
regarding Prince’s prognosis and next steps. Acquazzino testi-
fied that she outlined the recommended treatment and informed
Mohamed and Abak that most patients with Prince’s condition
will respond to the treatment and achieve long-term survival.
Acquazzino also testified that she told Mohamed and Abak
that the treatment could involve side effects, which could be
managed with medication. Mohamed and Abak also received
various printed materials explaining the treatment and possible
side effects.
   According to Acquazzino, Mohamed and Abak expressed
concern at the July 23, 2019, meeting, about the need for
chemotherapy. Acquazzino perceived Mohamed and Abak as
resistant to the recommended treatment. After Acquazzino
told them that this was the best available treatment and that,
without treatment, Prince would die, Mohamed and Abak
agreed to proceed. Prince began the recommended treatment
that night.
   Acquazzino testified that Prince’s treatment went well ini-
tially. His tumor visibly shrank, his side effects were minimal,
and he made it to all his appointments. Chesters worked with
Mohamed to identify and eliminate any barriers to regular
attendance at treatment. As part of that effort, she made finan-
cial resources available to pay for car repairs and other bills
Mohamed and Abak reported having trouble paying.
   After several weeks of treatment, Prince began to experience
expected side effects such as nausea, vomiting, and fatigue.
Then, in September 2019, Prince started missing some of
his scheduled chemotherapy appointments. Chesters testified
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                  IN RE INTEREST OF PRINCE R.
                        Cite as 308 Neb. 415
that she contacted Mohamed after Prince missed one appoint-
ment and that Mohamed told her he believed the doctors
were giving Prince too much medicine too quickly. According
to Chesters, she emphasized to Mohamed that it was very
important Prince receive the treatments as scheduled and that
the appointments were not optional. The missed appointments
were concerning to Acquazzino, because they could lead to the
cancer building resistance to the treatment regimen.
   The treatment plan called for Prince to begin radiation
treatments while continuing chemotherapy in early October
2019. Concerned about the prior missed chemotherapy appoint-
ments and whether Mohamed and Abak would bring Prince
to the radiation appointments, Acquazzino asked to meet with
Mohamed and Abak on October 1, 2019.
   Both Mohamed and Abak attended the October 1, 2019, meet-
ing with Acquazzino and Chesters. The meeting lasted about
an hour. Acquazzino recalled that, at the meeting, Mohamed
and Abak said Prince was being given too much medicine and
that Mohamed said the cancer would not kill Prince, but the
chemotherapy would. Mohamed and Abak asked that Prince
be given less medicine. Acquazzino explained to them that
reducing the medication would expose Prince to the same side
effects, but would not be as effective at treating the cancer. She
also told them that skipping scheduled treatments could lead
to the cancer building resistance and becoming more difficult
to treat.
   Acquazzino testified that during the meeting on October 1,
2019, Mohamed and Abak said that they wanted to get a sec-
ond opinion. While Acquazzino and Chesters offered to help
facilitate a second opinion by making a referral or sending
records to another provider, they also emphasized that the sit­
uation was time sensitive, so any second opinion would need to
be obtained quickly. Acquazzino testified that while any delay
in treatment was not ideal, she would have “tolerated maybe
a one to two week delay” to get a second opinion because
the benefits of improving the relationship with Mohamed and
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                  IN RE INTEREST OF PRINCE R.
                        Cite as 308 Neb. 415
Abak would counter the risk of delaying treatment. According
to Acquazzino, Mohamed and Abak did not ask for a referral
and said they had to think and talk about whether they were
interested in one.
   Acquazzino testified that for much of the meeting on
October 1, 2019, Mohamed and Abak expressed opposition
to beginning radiation treatment. By the end of the meeting,
however, Mohamed and Abak committed to bringing Prince
to his radiation appointment the next day. After the meeting,
Acquazzino and Chesters decided to make a Child Protective
Services referral. Acquazzino felt that a referral was appropri-
ate because, based on the discussion at the meeting, she was
concerned that Mohamed and Abak would not ensure that
Prince continued to receive treatment.
   Prince did attend his radiation appointment on October 2,
2019. After that, however, neither parent brought Prince to any
further radiation or chemotherapy appointments.
   On October 2, 2019, Vildana Parmer, a caseworker at
DHHS, was assigned to investigate the concerns expressed in
the Child Protective Services referral. Parmer had access to
several possible addresses in Lincoln, Nebraska, for Mohamed
and Abak and initially tried to make contact with them at
those locations. These efforts were unsuccessful, but Parmer
did reach Mohamed by telephone on October 4. She testified
that she asked Mohamed where Prince and Abak were and
that Mohamed told her they were at one of the addresses she
already visited. After Parmer informed Mohamed that she had
recently visited that address and no one was there, Mohamed
told her that Abak and Prince were residing at the People’s
City Mission (PCM). Parmer then visited PCM and asked an
employee there to provide her business card to Abak.
   Deanna Borg, an employee of PCM, testified that PCM
records showed that Abak and Prince began residing at PCM
on August 1, 2019. Borg testified that in early October, some-
one from DHHS asked her to provide Abak with the DHHS
employee’s business card. Borg provided Abak with the
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                  IN RE INTEREST OF PRINCE R.
                        Cite as 308 Neb. 415
card and told her that the DHHS employee said that it was
important that Abak contact her. After providing the business
card, Borg did not see Abak and Prince again. Borg testified
that those people staying at PCM are required to sign a paper
on their door if they intend to spend that night there. Abak last
signed the paper on her door on October 1.
   Parmer later found Mohamed outside his residence in
Lincoln. She testified that she asked Mohamed where Prince
was and that Mohamed initially said that Abak and Prince went
to Utah, but later stated they were in Arizona. He said that
they went there to seek a second opinion for Prince’s medical
treatment. Parmer testified that she asked Mohamed to have
Abak call her, but Abak never did. Parmer also testified she
emphasized to Mohamed that it was important Prince receive
his medical treatment and that if he did not receive it, he would
likely die. According to Parmer, Mohamed expressed disagree-
ment with that statement.
   Patrick Wingfield, an officer with the Lincoln Police
Department, attempted to locate Abak, beginning on October
8, 2019. Wingfield found Mohamed outside his residence in
Lincoln and requested that Mohamed ask Abak to contact
him. Mohamed told Wingfield that Abak had taken Prince to
Arizona to get a second opinion for his medical treatment.
Wingfield testified that Mohamed told him that this was none
of his concern and that Prince was safe.
   Luis Herrera, an investigator with the Lincoln Police
Department, began attempting to locate Abak and Prince on
October 9, 2019. Herrera first attempted to contact Abak via
text message and by contacting other police departments. On
October 12, he reached Mohamed by telephone. Mohamed told
Herrera that Abak and Prince were in Arizona to get a second
opinion for Prince’s medical treatment. Herrera testified that
Mohamed told him, based on his research, Prince was being
given too much medication and that Mohamed said, if he dis-
agreed with the medication being given, “he would step in and
correct the doctor.”
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                  IN RE INTEREST OF PRINCE R.
                        Cite as 308 Neb. 415
   After other attempts to locate Abak and Prince were unsuc-
cessful, Herrera initiated an emergency “ping” on a cell phone
number belonging to Abak on October 18, 2019. The ping
indicated that the cell phone was in Murfreesboro, Tennessee.
   Herrera then called Mohamed again. Mohamed indicated he
had been in contact with Abak. Herrera asked that Mohamed
facilitate contact between Herrera and Abak. Herrera testified
that during this conversation, Mohamed complained about the
treatment Prince was receiving through Children’s and stated
that Children’s had a “clandestine agenda.”
   A few hours after his conversation with Mohamed, Herrera
spoke to Abak on the telephone. During the call, Herrera asked
Abak whether Prince was receiving medical treatment, but
Abak said she did not want to discuss that. When Herrera asked
whether Abak and Prince were still in Nebraska, Abak said she
was not and would not be coming back. She also said that “if I
even get another doctor, it’s not going to be in Nebraska.”
   Herrera acquired a warrant to obtain an ongoing ping on
Abak’s cell phone. Those pings indicated that the cell phone
was at an apartment complex in Murfreesboro. After Herrera
provided law enforcement in Tennessee with information
regarding the case, Tennessee law enforcement found Abak at
the apartment complex on October 26, 2019. Herrera worked
with child welfare services in Tennessee to ensure that Prince
was taken to a hospital as soon as he was found.
   No evidence was presented that Prince received any treat-
ment or was seen by any medical professionals between October
2 and 26, 2019. No evidence was presented that Mohamed or
Abak had arranged for another medical professional to provide
a second opinion. Chesters testified that although she compiled
Prince’s medical records in response to Mohamed’s request in
an October 8 email, she also told Mohamed that he would need
to pick up a disc containing the records and that he failed to
do so.
   Prince, in the temporary custody of DHHS, resumed
treatment through Children’s once he returned to Nebraska.
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          Nebraska Supreme Court Advance Sheets
                   308 Nebraska Reports
                   IN RE INTEREST OF PRINCE R.
                         Cite as 308 Neb. 415
Although Acquazzino could not say with certainty to what
extent the delay in treatment affected Prince’s prognosis, she
testified that, in general, delays increase the risk of relapse and
decrease the overall efficacy of the treatment. Acquazzino also
testified that because chemotherapy can cause blood counts to
drop severely, Prince was placed at risk by not having blood
tests run on a weekly basis. In addition, she testified that
because Prince was receiving chemotherapy and had a central
line inserted in his body, Prince was at risk for infection.
   Mohamed testified at trial. He agreed that after beginning
chemotherapy, Prince’s tumor noticeably shrank. He testified
that when Prince began experiencing side effects, it was dif-
ficult to get him to take the oral medications that would help
manage them. He testified that he asked the doctors if Prince
could take the medications used to manage side effects in some
other way. At one point in his testimony, Mohamed said that he
only wanted a second opinion regarding Prince’s wrist, which
had limited functionality after the biopsy, and that he never
wanted a second opinion about the treatment protocol. Later in
his testimony, however, he testified that he also wanted to get
a second opinion for Prince’s cancer diagnosis.
   Mohamed testified that he and Abak were not and had never
been married. He testified that while Prince resided with Abak
at the time of the events at issue, Prince had lived with him at
earlier points in his life. Mohamed testified that it was Abak’s
decision to leave Nebraska. He testified that he did not ask
Abak to return because he believed she was seeking a sec-
ond opinion.
   Mohamed disagreed with Chesters’ testimony that he did
not obtain the medical records, claiming that she emailed the
records to him. He conceded that he never gave the records to
another medical provider.
   Mohamed denied ever telling anyone that the treatment
would kill Prince, but the cancer would not. He also denied ever
saying that he intentionally did not bring Prince to treatments
because he believed Prince was receiving too much medicine
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                  IN RE INTEREST OF PRINCE R.
                        Cite as 308 Neb. 415
through chemotherapy. He acknowledged that Acquazzino had
informed him that it was harmful to Prince to miss scheduled
treatments, and he testified that he believed that was true. He
testified that he wanted Prince to receive all of the treatment
recommended by Children’s.
   Abak did not testify at trial.

Juvenile Court’s Adjudication Order.
    The juvenile court found that Prince lacked proper parental
care by reason of the fault or habits of both Mohamed and
Abak. In reaching this conclusion, the juvenile court empha-
sized various points. It observed that there was no medical
evidence presented disputing Acquazzino’s opinions concern-
ing Prince’s diagnosis or that there was a standard treatment
provided for patients with such a diagnosis. It also credited
Acquazzino’s opinion that Prince had a 60-percent chance of
survival with the standard treatment, but would die without
it, and that if Prince’s treatment was interrupted or delayed, it
would increase the risk of relapse and decrease the treatment’s
efficacy. It noted that neither parent raised a religious or cul-
tural objection to the treatment Prince was receiving.
    The juvenile court also considered and rejected both parents’
argument that they withdrew Prince from treatment only to
obtain a second opinion. It found that the parents’ “more likely
motivation in removing Prince from the state was to stop his
treatment altogether for an undetermined period of time.” The
juvenile court specifically noted that it found unconvincing
Mohamed’s testimony that he deferred to Abak in removing
Prince from the state and that he lacked knowledge of Abak’s
“efforts or lack thereof in seeking a second opinion.”
    Mohamed appealed, and Abak cross-appealed.

                 ASSIGNMENTS OF ERROR
   Mohamed assigns that the juvenile court erred by find-
ing (1) that Prince lacked proper parental care by reason of
his faults or habits and (2) that his actions placed Prince at a
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                  IN RE INTEREST OF PRINCE R.
                        Cite as 308 Neb. 415
definite risk of harm. On cross-appeal, Abak assigns that the
juvenile court erred by making the same determinations with
respect to her.
                    STANDARD OF REVIEW
   [1] Juvenile cases are reviewed de novo on the record, and
an appellate court is required to reach a conclusion independent
of the juvenile court’s findings; however, when the evidence is
in conflict, an appellate court may consider and give weight to
the fact that the trial court observed the witnesses and accepted
one version of the facts over the other. In re Interest of A.A. et
al., 307 Neb. 817, 951 N.W.2d 144 (2020).
                           ANALYSIS
Background Regarding Adjudication
Proceedings in Juvenile Court.
   [2,3] Before addressing Mohamed’s and Abak’s arguments,
we briefly review the standards governing the adjudication
phase of a juvenile court proceeding. The purpose of the adju-
dication phase is to protect the interests of the child. In re
Interest of Justine J., 286 Neb. 250, 835 N.W.2d 674 (2013).
To obtain jurisdiction over a juvenile at the adjudication stage,
the court’s only concern is whether the conditions in which
the juvenile presently finds himself or herself fit within the
asserted subsection of Neb. Rev. Stat. § 43-247 (Reissue 2016).
In re Interest of Justine J., supra.   Section 43-247(3)(a) sets forth numerous grounds by which
the juvenile court could take jurisdiction over a juvenile.
See In re Interest of Jeremy U. et al., 304 Neb. 734, 936
N.W.2d 733 (2020). The ground relevant to this case is that
the juvenile “lacks proper parental care by reason of the fault
or habits of his or her parent, guardian, or custodian.” See
§ 43-247(3)(a). As we have previously explained, “proper
parental care” includes
      providing a home, support, subsistence, education, and
      other care necessary for the health, morals, and well-
      being of the child. . . . It commands that the child not
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                   308 Nebraska Reports
                   IN RE INTEREST OF PRINCE R.
                         Cite as 308 Neb. 415
      be placed in situations dangerous to life or limb, and not
      be permitted to engage in activities injurious to his health
      or morals.
State v. Metteer, 203 Neb. 515, 520, 279 N.W.2d 374, 377
(1979). See, also, In re Interest of Jeremy U. et al., supra.
   In considering whether a juvenile lacks proper parental care,
our case law has incorporated a risk of harm component. In
re Interest of Jeremy U. et al., supra. To show that a juvenile
lacks proper parental care, the State is not required to prove
that the child has actually suffered physical harm, but the State
must establish that, without intervention, there is a definite risk
of future harm. See In re Interest of Kane L. &amp; Carter L., 299
Neb. 834, 910 N.W.2d 789 (2018).
   We recently explained in In re Interest of Jeremy U. et al.
that a claim under § 43-247(3)(a) that a juvenile “lacks proper
parental care by reason of the fault or habits of his or her par-
ent, guardian, or custodian” should be analyzed through a two-
step inquiry:
      The first step is to determine if the juvenile is lacking
      proper parental care, whether such care is being provided
      by a parent, a guardian, or a custodian. If a juvenile is
      not lacking that type of care (and . . . there is no defi-
      nite risk of harm), adjudication under this provision of
      § 43-247(3)(a) is improper. If, on the other hand, the
      juvenile is lacking such care, the court should proceed to
      the second step: Does that condition result from the fault
      or habits of the juvenile’s parent, guardian, or custodian?
      If the answer to that question is also yes, then the juvenile
      court should take jurisdiction of the juvenile and proceed
      to a proper disposition.
304 Neb. at 748, 936 N.W.2d at 744-45.
   [4] At the adjudication stage, in order for a juvenile court
to assume jurisdiction of minor children under § 43-247(3)(a),
the State must prove the allegations of the petition by a pre-
ponderance of the evidence. In re Interest of Heather R. et al.,
269 Neb. 653, 694 N.W.2d 659 (2005). A preponderance of
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                  308 Nebraska Reports
                  IN RE INTEREST OF PRINCE R.
                        Cite as 308 Neb. 415
the evidence is the equivalent of the greater weight of the evi-
dence, which means evidence sufficient to make a claim more
likely true than not true. See In re Interest of Vladimir G., 306
Neb. 127, 944 N.W.2d 309 (2020). Both Mohamed and Abak
argue on appeal and cross-appeal that the State failed to carry
its burden to show that Prince lacked proper parental care by
reason of their faults or habits and that, without intervention,
Prince faced a definite risk of future harm. We turn to their
arguments now, beginning with Abak’s.

Abak’s Cross-Appeal.
   Abak contends that Prince did not lack proper parental care
by reason of her fault or habits and that Prince did not face a
definite risk of future harm. In support of her argument that
Prince received adequate parental care, Abak primarily empha-
sizes evidence of her care for Prince prior to the meeting at
Children’s on October 1, 2019. She mentions, for example,
that she noticed the swelling in Prince’s forearm and arranged
for him to be seen by doctors. She points out that she agreed
to the treatment plan recommended by Children’s and that
Prince initially received treatment as recommended. She also
directs us to a note recorded by Chesters in July 2019 stating
that she and Mohamed “love Prince very much.” But even if
this evidence tends to show that Abak was ensuring that Prince
received adequate medical care for a period of time, it fails
to address the crux of the State’s case: that in early October,
Abak took Prince out of Nebraska and, for more than 3 weeks
until the State was able to locate them, kept Prince from
receiving the treatment Acquazzino testified was essential to
his survival.
   The closest Abak comes to providing an explanation for
her actions after the October 1, 2019, meeting are sugges-
tions that she was not refusing to allow treatment, but merely
seeking a second opinion. This claim might have more force
if there were evidence in the record that Abak had actu-
ally made arrangements to obtain a second opinion or taken
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                   IN RE INTEREST OF PRINCE R.
                         Cite as 308 Neb. 415
significant, concrete steps toward doing so. But even though
Acquazzino had recently informed Mohamed and Abak that
Prince’s condition was serious, that delays in treatment sub-
jected Prince to risk of lethal harm, and that thus, any second
opinion must be obtained quickly, there is no evidence that
even after Prince had already missed approximately 3 weeks
of scheduled treatment, Abak had so much as begun to iden-
tify where she might obtain a second opinion. Further, Abak’s
comment to Herrera that “if I even get another doctor, it’s not
going to be in Nebraska,” suggests that Abak had no immedi-
ate intentions of arranging for a second opinion. (Emphasis
supplied.) Based on this evidence, we agree with the juvenile
court that it is more likely than not that Abak did not leave
Nebraska with Prince to obtain a second opinion, but to stop
his treatment altogether for an indefinite period of time. We
also agree with the juvenile court that the decision to indefi-
nitely stop treatment, which Acquazzino testified was essential
to Prince’s survival, deprived Prince of proper parental care by
reason of the faults or habits of Abak.
   Abak also argues that the juvenile court erred by find-
ing that, without intervention, Prince faced a definite risk of
future harm. Here, Abak argues that because the State could
not definitively show that Prince was harmed by not receiving
treatment during the time in which she and Prince were not in
Nebraska, it did not prove the risk of harm element. Abak’s
argument, however, is an attempt to transform the risk of harm
requirement into a requirement that the juvenile suffer actual
harm before the juvenile court obtains jurisdiction. As we
have emphasized on many occasions, however, the Nebraska
Juvenile Code does not require a juvenile court to wait until
disaster has befallen a minor child before the court may acquire
jurisdiction. See, e.g., In re Interest of Justine J., 286 Neb. 250,
835 N.W.2d 674 (2013).
   The State introduced evidence showing that Prince was
placed at risk of harm by a delay in treatment. As we have
noted, Acquazzino testified that treatment delays increase
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                  308 Nebraska Reports
                  IN RE INTEREST OF PRINCE R.
                        Cite as 308 Neb. 415
the risk of relapse and decrease the overall efficacy of the
treatment and that if the treatment was stopped altogether,
Prince would die. Her testimony also established that due to
his treatment and the central line in his body, Prince needed to
be regularly seen by medical professionals. We find the State
established that, without intervention, there was a definite risk
of future harm to Prince as a result of Abak’s actions.
   Under the two-step analysis set forth in In re Interest of
Jeremy U. et al., 304 Neb. 734, 936 N.W.2d 733 (2020), the
State established that Prince lacked proper parental care and
faced a definite risk of future harm and that this resulted
from the fault or habits of Abak. We thus find no merit to
Abak’s cross-appeal.

Mohamed’s Appeal.
   In his appeal, Mohamed makes many of the arguments
made by Abak. Like Abak, he contends that he ensured Prince
received the treatment recommended by Children’s up until
early October 2019 and that the treatment stopped at that point
only because a decision was made to obtain a second opinion.
He also makes the argument that because the State did not
prove that Prince actually suffered harm because of the treat-
ment delay, it did not establish the risk of harm element. As we
have already explained, however, we are unpersuaded by these
arguments. We have already determined under the first step of
the two-step In re Interest of Jeremy U. analysis that, after his
treatment was stopped in early October 2019, Prince lacked
proper parental care and, as a result, faced a definite risk of
future harm.
   Mohamed does make one argument, however, that remains
unaddressed even after our analysis of Abak’s cross-appeal:
Mohamed attempts to place any blame for a lack of paren-
tal care exclusively on Abak. Mohamed argues that while he
agreed that a second opinion should be sought, he believed
Abak was, in fact, seeking such an opinion when she left
the state with Prince in October 2019. Although he does not
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                  308 Nebraska Reports
                  IN RE INTEREST OF PRINCE R.
                        Cite as 308 Neb. 415
frame the argument in these exact terms, Mohamed appears
to argue that even if the State proved at step one of the In re
Interest of Jeremy U. analysis that Prince lacked proper paren-
tal care and faced a definite risk of future harm because of the
treatment delay in October 2019, it did not prove at step two
that this was a result of the fault or habits of Mohamed.
   As noted above, the juvenile court rejected this argument,
finding that both parents made the decision to withdraw Prince
from treatment and to remove him from Nebraska—not to
obtain a second opinion but to stop his treatment altogether for
an undetermined period of time. We agree that, based on the
evidence in the record, it is more likely than not that Mohamed
supported and bears responsibility for the decision to remove
Prince from treatment indefinitely regardless of whether a sec-
ond opinion was sought. Several pieces of evidence inform this
conclusion, which we outline below.
   Initially, we note that the record contains evidence of mul-
tiple statements by Mohamed that the recommended treatment
was not only unnecessary to Prince’s survival, but harmful to
him. Acquazzino, Chesters, Parmer, and Herrera all testified
that Mohamed made such statements. Although the fact that
Mohamed made these statements alone would not demonstrate
that Prince lacked proper parental care by reason of the fault or
habits of Mohamed, they do suggest that Mohamed disagreed
with and wanted to discontinue the recommended treatment
and was not merely an unwitting victim of Abak.
   There are also pieces of evidence that, when considered
together, undermine Mohamed’s claims that he wanted to
obtain a second opinion, that he deferred to Abak to arrange
for such an opinion, and that he believed that such an opin-
ion was being sought. First, Mohamed offered testimony
regarding his devotion and attachment to Prince. The juvenile
court found this testimony credible, observing that Mohamed
“undoubtedly loves his son.” But while there is no dispute that
Mohamed cared deeply for Prince, there is evidence suggest-
ing that he would not have trusted Abak to ensure that Prince
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                  IN RE INTEREST OF PRINCE R.
                        Cite as 308 Neb. 415
received needed medical care. Mohamed and Abak reported to
Chesters that “they don’t always get along.” In addition, in a
meeting with Chesters, Mohamed shared that he was concerned
about Abak’s arrest record and drug and alcohol use and that
he believed her drug usage might explain why Prince missed
several speech therapy appointments. During that meeting,
Mohamed requested that all appointments be made on days on
which he did not have to work. Given Mohamed’s attachment
to Prince and his prior concerns regarding Abak’s reliability, it
is difficult to believe that Mohamed entrusted Abak with the
task of obtaining a second opinion.
   Mohamed emphasizes that he sent an email to Chesters on
October 8, 2019, asking that Prince’s medical records be com-
piled so that a second opinion could be sought. This evidence
does not persuade us that Mohamed bears no responsibility
for the lack of proper parental care. Chesters testified that
while she compiled the records, she also informed Mohamed
he would need to arrange to come pick up a disc containing
the records, and he never did so. Mohamed disagreed with this
testimony, claiming that Chesters emailed the records to him.
But even assuming the truth of Mohamed’s testimony on this
point, Mohamed also testified that he never sent the records to
another medical provider. The assertion that Mohamed believed
a second opinion was being obtained is difficult to square with
the fact that he knew the records necessary to obtain such an
opinion had not been given to another provider.
   We acknowledge that Mohamed testified that he believed
Abak was arranging for a second opinion and that Abak told
him she had made an appointment with another provider. The
juvenile court, however, found Mohamed’s “claimed ignorance
of [Prince’s and Abak’s] whereabouts, or [Abak’s] efforts or
lack thereof in seeking a second opinion, unconvincing.” The
juvenile court had the opportunity to observe Mohamed’s
testimony firsthand, and given the evidence in the record we
have discussed, we believe deference to its assessment of
the credibility of Mohamed’s claims is warranted. See In re
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         Nebraska Supreme Court Advance Sheets
                  308 Nebraska Reports
                  IN RE INTEREST OF PRINCE R.
                        Cite as 308 Neb. 415
Interest of Leyton C. &amp; Landyn C., 307 Neb. 529, 949 N.W.2d
773 (2020).
    Based on the foregoing, we agree with the juvenile court that
it is more likely than not that Mohamed supported Abak’s tak-
ing Prince from the state because he too wanted the treatment
stopped indefinitely and did not want Prince to be found. We
thus reject Mohamed’s argument that the State failed to prove
at step two of the analysis under In re Interest of Jeremy U. et
al., 304 Neb. 734, 936 N.W.2d 733 (2020), that Prince lacked
proper parental care because of Mohamed’s fault or habits.

                         CONCLUSION
   We find that the juvenile court did not err by adjudicating
Prince as a child that lacked proper parental care by reason of
the fault or habits of both Mohamed and Abak. Accordingly,
we affirm.
                                                   Affirmed.
